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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA
                                               CRIMINAL NO. LKG-22-7
       v.

 MARILYN J. MOSBY

       Defendant.

                                      VERDICT FORM


      How do you find the defendant, MARILYN J. MOSBY, as to COUNT ONE of the

Indictment?

               Guilty _____________            Not Guilty _____________


      How do you find the defendant, MARILYN J. MOSBY, as to COUNT TWO of the

Indictment?

               Guilty _____________            Not Guilty _____________


      How do you find the defendant, MARILYN J. MOSBY, as to COUNT THREE of the

Indictment?

               Guilty _____________            Not Guilty _____________



      How do you find the defendant, MARILYN J. MOSBY, as to COUNT FOUR of the

Indictment?

               Guilty _____________            Not Guilty _____________




                                           1
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The foregoing constitutes the unanimous verdict of the jury.



_________________________                                  ________________
FOREPERSON                                                 DATE




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